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                         FOR PUBLICATION

          UNITED STATES COURT OF APPEALS
               FOR THE NINTH CIRCUIT


        TWITTER, INC.,                          No. 21-15869
                         Plaintiff-Appellant,
                                                   D.C. No.
                         v.                     3:21-cv-01644-
                                                    MMC
        KEN PAXTON, in his official capacity
        as Attorney General of Texas,
                       Defendant-Appellee.         OPINION


             Appeal from the United States District Court
                for the Northern District of California
             Maxine M. Chesney, District Judge, Presiding

                Argued and Submitted January 10, 2022
                      San Francisco, California

                          Filed March 2, 2022

             Before: Mark J. Bennett, Ryan D. Nelson, and
                  Patrick J. Bumatay, Circuit Judges.

                      Opinion by Judge R. Nelson
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                                 SUMMARY *


                                  Civil Rights

          The panel affirmed the district court’s order dismissing,
       on ripeness grounds, an action brought by Twitter against
       Ken Paxton, the Attorney General of Texas, in his official
       capacity, alleging First Amendment retaliation.

           After the events at the U.S. Capitol on January 6, 2021,
       Twitter banned President Donald Trump for life. Soon after
       Twitter announced the ban, the Texas Office of the Attorney
       General (OAG) served Twitter with a Civil Investigative
       Demand (CID) asking it to produce various documents
       relating to its content moderation decisions. Twitter sued
       Paxton, in his official capacity, in the Northern District of
       California, arguing that the CID was government retaliation
       for speech protected by the First Amendment. Twitter asked
       the district court to enjoin Paxton from enforcing the CID
       and from continuing his investigation, and to declare the
       investigation unconstitutional.

           The panel held that this case was not prudentially ripe.
       The issues were not yet fit for judicial decision because OAG
       has not yet made an allegation against Twitter, because the
       facts were not yet developed, and because Twitter need not
       comply with the CID, could challenge it if it was enforced,
       and could have challenged the CID in Texas state court, Tex.
       Bus. & Com. Code § 17.61(g). While Twitter could suffer
       hardship from withholding court consideration, adjudicating
       this case now would require determining whether Twitter
           *
             This summary constitutes no part of the opinion of the court. It
       has been prepared by court staff for the convenience of the reader.
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       has violated Texas’s unfair trade practices law before OAG
       has a chance to complete its investigation. Any hardship to
       Twitter from the alleged chill of its First Amendment rights
       was insufficient to overcome the uncertainty of the legal
       issue presented in the case in its current posture.


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                               OPINION


       R. NELSON, Circuit Judge:

           After the events at the U.S. Capitol on January 6, 2021,
       Twitter banned President Donald Trump for life. Soon after
       Twitter announced the ban, the Texas Office of the Attorney
       General (OAG) served Twitter with a Civil Investigative
       Demand (CID) asking it to produce various documents
       relating to its content moderation decisions. Twitter sued
       Ken Paxton, the Attorney General of Texas, in his official
       capacity, arguing that the CID was government retaliation
       for speech protected by the First Amendment. The district
       court dismissed the case as not ripe. We affirm.

                                     I

                                    A

           OAG says that it has been investigating Twitter’s
       content-moderation decisions in response to citizen
       complaints since 2018. Twitter executives have said
       publicly that Twitter does not moderate content based on
       political viewpoint. After Twitter banned President Trump
       for life, Paxton tweeted that Twitter (along with Facebook)
       was “closing conservative accounts,” and that it and other
       companies stood “ready/willing to be the left’s Chinese-style
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       thought police.” He vowed that “[a]s AG, I will fight them
       with all I’ve got.”

           A few days later OAG served Twitter with a CID,
       requiring it to produce various documents related to its
       content moderation decisions. Paxton says that OAG “does
       not seek to investigate the content-moderation decisions that
       Twitter makes—and could not do so under [Texas’s unfair
       and deceptive trade practices law]—but rather is conducting
       an investigation into whether Twitter truthfully represents its
       moderation policies to Texas consumers.” But Twitter
       paints this rationale as a pretext for Paxton’s unlawful
       retaliation.

                                     B

           After some negotiation, rather than respond to the CID
       or wait for OAG to move to enforce it in Texas state court,
       Twitter instead sued Paxton in the Northern District of
       California. It alleged that both the act of sending the CID
       and the entire investigation were unlawful retaliation for its
       protected speech. Claiming under 42 U.S.C. § 1983 that
       Paxton violated its First Amendment rights, Twitter asked
       the district court to enjoin Paxton from enforcing the CID
       and from continuing his investigation, and to declare the
       investigation unconstitutional. In Twitter’s view, its content
       moderation decisions are protected speech because it is a
       publisher, and it has a First Amendment right to choose what
       content to publish. Pointing to Paxton’s public comments,
       Twitter argues that the CID was served in retaliation for its
       protected speech and that it chills Twitter’s exercise of its
       First Amendment rights.

           In response, Paxton contested personal jurisdiction,
       venue, ripeness, and whether Twitter had stated a claim. On
       ripeness, he argued that under Reisman v. Caplin, 375 U.S.
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       440 (1964), pre-enforcement challenges to non-self-
       executing document requests are not ripe. Twitter countered
       that the case was ripe because it had already suffered a real
       First Amendment injury—its speech was already being
       chilled. The district court held that it had personal
       jurisdiction and that venue was proper, and then dismissed
       the case as not ripe, relying on Reisman. It did not reach
       whether Twitter stated a claim.

           After the district court dismissed the case, Twitter moved
       for an injunction pending appeal, arguing again that the case
       was ripe. The district court declined to issue one, relying on
       the same reasoning as before. Twitter then appealed that
       order to this Court, and a divided motions panel affirmed.
       Twitter now appeals the district court’s original order
       dismissing the case.

                                     II

           The district court’s decision to dismiss a case for lack of
       ripeness is reviewed de novo. Wolfson v. Brammer, 616 F.3d
       1045, 1053 (9th Cir. 2010). The district court’s decision
       may be affirmed on any ground supported by the record,
       even if not relied on by the district court. Cassirer v.
       Thyssen-Bornemisza Collection Found., 862 F.3d 951, 974
       (9th Cir. 2017).

                                     III

                                     A

                                     1

           Along with standing and mootness, ripeness is one of
       three justiciability requirements. Ripeness “is ‘drawn both
       from Article III limitations on judicial power and from
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       prudential reasons for refusing to exercise jurisdiction.’”
       Ass’n of Irritated Residents v. EPA, 10 F.4th 937, 944 (9th
       Cir. 2021) (citing Nat’l Park Hosp. Ass’n v. Dep’t of
       Interior, 538 U.S. 803, 808 (2003)). The “basic rationale” of
       the ripeness requirement is “to prevent the courts, through
       avoidance of premature adjudication, from entangling
       themselves in abstract disagreements.” Portman v. Cnty. of
       Santa Clara, 995 F.2d 898, 902 (9th Cir. 1993) (citing
       Abbott Lab’ys. v. Gardner, 387 U.S. 136, 148 (1967)).

           We have separated out the constitutional and prudential
       components of ripeness. “[T]he constitutional component of
       ripeness is synonymous with the injury-in-fact prong of the
       standing inquiry.” Cal. Pro-Life Council, Inc. v. Getman,
       328 F.3d 1088, 1094 n.2 (9th Cir. 2003) (citing Thomas v.
       Anchorage Equal Rts. Comm’n, 220 F.3d 1134, 1138 (9th
       Cir. 2000) (en banc)). The question is thus “whether the
       issues presented are definite and concrete, not hypothetical
       or abstract.” Id. (cleaned up).

           The prudential part of ripeness, on the other hand,
       requires us to “evaluate both the fitness of the issues for
       judicial decision and the hardship to the parties of
       withholding court consideration.”          Ass’n of Irritated
       Residents, 10 F.4th at 944 (citing Abbott Lab’ys, 387 U.S.
       at 149). 1 “A claim is fit for decision if the issues raised are
       primarily legal, do not require further factual development,

           1
             The Supreme Court has questioned the continued validity of the
       prudential ripeness doctrine because it “is in some tension with [the
       Court’s] recent reaffirmation of the principle that ‘a federal court’s
       obligation to hear and decide’ cases within its jurisdiction ‘is virtually
       unflagging.’” Susan B. Anthony List v. Driehaus, 573 U.S. 149, 167
       (2014) (citing Lexmark Int’l, Inc. v. Static Control Components, Inc.,
       572 U.S. 118, 126 (2014)). But the parties do not ask us to revisit our
       precedents, and we continue to be bound by them.
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       and the challenged action is final.” Skyline Wesleyan
       Church v. Cal. Dep’t of Managed Health Care, 968 F.3d
       738, 752 (9th Cir. 2020) (cleaned up). On the hardship
       prong, we consider whether the action “requires an
       immediate and significant change in the plaintiffs’ conduct
       of their affairs with serious penalties attached to
       noncompliance.” Stormans, Inc. v. Selecky, 586 F.3d 1109,
       1126 (9th Cir. 2009) (cleaned up). As part of this prong, we
       have also considered the hardship to the government from
       moving forward with the case. See Thomas, 220 F.3d
       at 1142 (“the State and the City would suffer hardship were
       we to adjudicate this case now.”). Even if there is some
       hardship to the plaintiff from withholding consideration, that
       hardship may still be “insufficient to overcome the
       uncertainty of the legal issue presented in the case in its
       current posture” and thus “fail[] . . . [to] outweigh[] our and
       the [government’s] interest in delaying review.” Colwell v.
       Dep’t of Health & Hum. Servs., 558 F.3d 1112, 1129 (9th
       Cir. 2009) (citation omitted).

           We have noted that we “appl[y] the requirements of
       ripeness and standing less stringently in the context of First
       Amendment claims.” Wolfson, 616 F.3d at 1058 (citing
       Getman, 328 F.3d at 1094). But that observation relied on a
       standing case, Getman, and thus relates mainly to the
       constitutional ripeness of a pre-enforcement suit, not to
       prudential ripeness. And we have also held that “[t]he
       prudential considerations of ripeness are amplified where
       constitutional issues are concerned.” Scott v. Pasadena
       Unified Sch. Dist., 306 F.3d 646, 662 (9th Cir. 2002) (citing
       United Pub. Workers v. Mitchell, 330 U.S. 75, 90–91
       (1947)).
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                                      2

            Personal jurisdiction and constitutional ripeness are
       jurisdictional prerequisites. Ruhrgas AG v. Marathon Oil
       Co., 526 U.S. 574, 584 (1999); In re Coleman, 560 F.3d
       1000, 1005 (9th Cir. 2009). We “generally may not rule on
       the merits of a case without first determining that [we] ha[ve]
       jurisdiction.” Sinochem Int’l Co. v. Malaysia Int’l Shipping
       Corp., 549 U.S. 422, 430–31 (2007) (citing Steel Co. v.
       Citizens for a Better Env’t, 523 U.S. 83, 93–102 (1998)).
       But “there is no mandatory sequencing of nonmerits issues,”
       and we thus “ha[ve] leeway ‘to choose among threshold
       grounds for denying audience to a case on the merits.’” Id.
       (citing Ruhrgas, 526 U.S. at 584–85). The rationale for this
       rule is that “jurisdiction is vital only if the court proposes to
       issue a judgment on the merits.” Snoqualmie Indian Tribe v.
       Washington, 8 F.4th 853, 861 (9th Cir. 2021) (cleaned up).
       Thus when jurisdictional issues would be “difficult to
       determine,” we may instead dismiss a case on a non-merits
       threshold ground, if doing so is “the less burdensome
       course.” Id. (quoting Sinochem, 549 U.S. at 436).

                                      B

           Prudential ripeness is a non-merits threshold issue, and
       personal jurisdiction and constitutional ripeness would be
       difficult to determine here. We thus instead dismiss the case
       on prudential ripeness, the “less burdensome course.” See
       id.

            This case is not prudentially ripe. The issues are not yet
       fit for judicial decision because OAG has not yet made an
       allegation against Twitter, because the facts are not yet
       developed, and because Twitter need not comply with the
       CID, can challenge it if it is enforced, and could have
       challenged the CID in Texas state court, Tex. Bus. & Com.
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        Code § 17.61(g). While Twitter could suffer hardship from
        withholding consideration, adjudicating this case now would
        require determining whether Twitter has violated Texas’s
        unfair trade practices law before OAG has a chance to
        complete its investigation. Any hardship to Twitter from the
        alleged chill of its First Amendment rights is “insufficient to
        overcome the uncertainty of the legal issue presented in the
        case in its current posture.” Colwell, 558 F.3d at 1129.

                                       1

             On the first prong, whether the issues are fit for judicial
        decision, Twitter argues that its claim “is based entirely on
        acts that have already occurred,” and thus that prudential
        ripeness is satisfied. We disagree. As Twitter argues, the
        case turns on whether Paxton caused OAG to issue the CID
        with a retaliatory motive. But it turns on other questions too,
        and it’s as to those other questions that the issues are not yet
        fit for judicial decision.

            If this lawsuit is allowed to go forward, it will force OAG
        to litigate its entire case on deceptive trade practices in
        California without even being able to investigate it and
        figure out if it wants to pursue it or not. Here’s how: The
        elements of a First Amendment retaliation claim are (1) that
        the plaintiff was “engaged in a constitutionally protected
        activity,” (2) that the “Defendants’ actions would chill a
        person of ordinary firmness from continuing to engage in the
        protected activity,” and (3) that “the protected activity was a
        substantial or motivating factor in Defendants’ conduct.”
        Sampson v. Cnty. of Los Angeles, 974 F.3d 1012, 1019 (9th
        Cir. 2020) (citation omitted). Even if content moderation is
        protected speech, making misrepresentations about content
        moderation policies is not. See Va. State Bd. of Pharmacy v.
        Va. Citizens Consumer Council, Inc., 425 U.S. 748, 772
        (1976) (misleading commercial speech is not protected). If
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        Twitter’s statements are protected commercial speech, then
        OAG’s investigation would be unlawful if it would chill a
        person of ordinary firmness from speaking, and if it was
        caused in substantial or motivating part by Twitter’s content
        moderation decisions. Sampson, 974 F.3d at 1019 (citation
        omitted). But if Twitter’s statements are misleading
        commercial speech, and thus unprotected, then Twitter’s
        content moderation decisions would be a proper cause for
        the investigation, because they would be the very acts that
        make its speech misleading.

             In this way, addressing Twitter’s claim would require the
        district court to determine whether Twitter had made
        misrepresentations. But misrepresentations are exactly what
        are prohibited by Texas’s unfair and deceptive trade
        practices law; this is the very thing that Paxton claims OAG
        is trying to investigate. And at this stage, OAG hasn’t even
        alleged that there is a violation; OAG is just trying to look
        into it.           Whether Twitter’s statements were
        misrepresentations is not solely a legal issue because it
        depends on “further factual amplification.” United States v.
        Lazarenko, 476 F.3d 642, 652 (9th Cir. 2007). Allowing this
        case to go forward would force OAG to litigate the merits in
        a defensive posture in a different jurisdiction, without being
        able to investigate its own potential claims.

            Indeed, allowing this case to go forward would limit
        many legitimate investigations, because they could chill
        First Amendment rights.         Consider a civil antitrust
        investigation. Are the business executives legitimate
        targets? Or are their First Amendment rights to speak freely
        among themselves being chilled? If this case were ripe, then
        the target of an antitrust investigation could sue the
        government and force it to try its entire case before it even
        decides whether it wants to allege a violation.
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            In addressing a related but separate issue, the Supreme
        Court avoided this very outcome, observing that it “would
        require federal courts to determine the constitutionality of
        state laws in hypothetical situations where it is not even clear
        the State itself would consider its law applicable.” Morales
        v. Trans World Airlines, Inc., 504 U.S. 374, 382 (1992).
        Finding this case ripe would require federal courts in
        California to determine the constitutionality of Texas’s
        unfair trade practices law in a hypothetical situation, before
        Texas has even decided whether its law applies.

                                       2

            Withholding consideration could lead to some hardship
        for Twitter: the alleged chill of its First Amendment rights.
        But on the hardship prong, we also consider “whether the
        [state] action requires immediate compliance with its terms.”
        Skyline, 968 F.3d at 752. Twitter has alleged a chill on its
        First Amendment rights. But because Twitter need not
        comply with the CID, OAG has taken no action that requires
        immediate compliance.

            Moreover, any hardship to Twitter is minimized because
        Twitter may still raise its First Amendment claims before
        OAG brings an unfair trade practices suit. If OAG moves to
        enforce the CID, Twitter can raise its First Amendment
        claims at that time, before any duty to comply applies, and
        without facing any charges under the underlying Texas
        unfair business practices statute. Twitter also could have
        challenged the CID in Texas state court. Tex. Bus. & Com.
        Code § 17.61(g).

           And we can also consider the hardship to OAG. See
        Thomas, 220 F.3d at 1141–42 (assessing hardship to the
        government from finding case ripe). Allowing this case to
        go forward would force OAG to litigate its case in federal
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        court in California, without being able to first investigate its
        own potential claims. That would undermine Texas’s state
        sovereignty. States can investigate whether businesses make
        misrepresentations. Finding this case ripe would make some
        of those investigations impossible.

            Thus any “hardship [to Twitter] is insufficient to
        overcome the uncertainty of the legal issue presented in the
        case in its current posture,” and “fail[s] . . . [to] outweigh[]
        our and the [Attorney General’s] interest in delaying
        review.” Colwell, 558 F.3d at 1129 (citation omitted).

                                       C

                                       1

            Twitter argues that OAG’s investigation is illegitimate
        because matters of “editorial judgment” can never be
        investigated. In doing so, it analogizes its statements about
        content moderation (that it moderates content without
        considering viewpoint) to the slogans like “all the news
        that’s fit to print” and “fair and balanced.” Twitter and amici
        also rely on cases highlighting the dangers in “government
        editorial oversight.” See Miami Herald Publ’g Co. v.
        Tornillo, 418 U.S. 241, 258 (1974); Bullfrog Films, Inc. v.
        Wick, 847 F.2d 502, 510 (9th Cir. 1988).

            We reject these arguments. First, Bullfrog Films and
        Miami Herald addressed government regulations or statutes
        which themselves required balance. 847 F.2d at 505 (federal
        regulations); 418 U.S. at 244 (state statute). Here, by
        contrast, Twitter has made statements about balance, and so
        the danger from Bullfrog Films and Miami Herald is absent.
        Twitter’s statements can be investigated as misleading just
        like the statements of any other business.
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            Second, Twitter’s analogy to “all the news that’s fit to
        print” is a puffery argument, the essence of which is that no
        one would understand its statements about content
        moderation to be literally true. We disagree. No one
        believes that the New York Times literally prints “all the
        news that’s fit to print,” but a reasonable person could think
        that Twitter’s statements about content moderation were
        true. Cf. Knievel v. ESPN, 393 F.3d 1068, 1073–74 (9th Cir.
        2005) (deciding whether allegedly defamatory statement
        could be believed by a reasonable person).

                                       2

            Twitter also relies on a series of First Amendment cases
        to argue that “even informal threats of legal sanction, when
        used as a means to punish or restrict a person’s exercise of
        First Amendment rights, create an immediate First
        Amendment injury that courts may remedy.” See, e.g.,
        Bantam Books v. Sullivan, 372 U.S. 58 (1963). Paxton
        responds that those cases are “generalized First Amendment
        principles” that don’t apply here and largely don’t discuss
        ripeness at all. It’s true that some of these cases don’t discuss
        ripeness. And regardless, a closer look at them shows that
        they don’t support finding ripeness here. We first discuss
        Twitter’s foundational case, Bantam Books, and then address
        our precedents.

                                       a

             Bantam Books was different from this case in three ways:
        it dealt with obscenity, it addressed a state regulatory scheme
        that “provide[d] no safeguards whatever against the
        suppression of nonobscene, and therefore constitutionally
        protected, matter,” 372 U.S. at 70, and it did not address
        ripeness.
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            The threat to speech in Bantam Books came from the
        “Rhode Island Commission to Encourage Morality in
        Youth,” a state regulatory body whose mission was to
        “educate the public concerning any book, picture, pamphlet,
        ballad, printed paper or other thing containing obscene,
        indecent or impure language, or manifestly tending to the
        corruption of the youth.” Id. at 59. The Commission
        contacted distributors of these books, told them that the
        books were objectionable, thanked them in advance for their
        cooperation, reminded them that the Commission
        recommended “purveyors of obscenity” for prosecution, and
        told them that copies had been forwarded to local police
        departments. Id. at 61–63. Several publishers sued, and the
        Supreme Court held that the Commission’s acts violated the
        First Amendment.

             The Court’s holding was rooted in the complexity of its
        obscenity jurisprudence. It first pointed out that although
        obscenity is not protected speech, state regulation of
        obscenity also is subject to “an important qualification,”
        which is that the test for obscenity is complex and requires
        safeguards in its application. Id. at 65 (citing Roth v. United
        States, 354 U.S. 476, 488 (1957)). The problem with the
        Commission was that it had no safeguards at all: There was
        no judicial review of the notices, no notice and hearing, and
        it levied vague and uninformative allegations. Id. at 70–71.
        It was these faults that led the Supreme Court to say that
        “[t]he procedures of the Commission are radically deficient”
        and to call them a “system of informal censorship.” Id. at 71.

           Bantam Books differs from this case. First, unlike
        obscenity, the test for misleading or untruthful commercial
        speech contains no analogous complexities or qualifications.
        See Va. State Bd. of Pharmacy, 425 U.S. at 772.
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            Second, unlike the Commission, OAG has not alleged
        that the law has been broken; it has started an investigation
        and requested documents. Even a statement like “I’ll fight
        them with all I’ve got” is not an allegation that Texas’s law
        has been violated.

           Third, unlike the Commission’s, OAG’s actions come
        with procedural safeguards: If OAG moves to enforce the
        CID, Twitter can raise its First Amendment defense then,
        before there are any underlying charges. Twitter also could
        have challenged the CID in Texas state court. Tex. Bus. &
        Com. Code § 17.61(g). In Bantam Books, there were no
        such opportunities.

            Ultimately, in Bantam Books, the Supreme Court
        “look[ed] through forms to the substance” and found that the
        Commission was just a “system of informal censorship.” Id.
        at 67, 71. OAG’s investigation is not a system of informal
        censorship. Bantam Books does not support finding ripeness
        here.

                                       b

           Along with Bantam Books, Twitter relies on several of
        our cases from the last few decades. Some of these cases
        don’t address ripeness at all, and others involve facts that are
        very different from this case.

            Twitter cites White v. Lee to argue that “retaliatory
        investigations can inflict First Amendment injuries by
        chilling speech.” 227 F.3d 1214, 1228 (9th Cir. 2000). And
        it’s true that White held that a retaliatory investigation
        violated the targets’ First Amendment rights. 227 F.3d
        at 1228. But the case doesn’t address ripeness at all. And
        even more to the point, in White, the entire investigation had
        already taken place: The government investigated for several
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        months and “ultimately concluded that no violation had
        occurred and that the [plaintiffs] had engaged solely in
        activity protected by the First Amendment.” Id. at 1220.
        Only at that point did the plaintiffs file a § 1983 suit. White
        thus says little about this case, in which the investigation is
        still ongoing.

            There is another difference: In White, the plaintiffs
        would have had no opportunity to challenge any aspect of
        the investigation until formal charges were brought, at which
        point they could have faced a large fine. Id. at 1222. But
        here, as the district court pointed out, “Twitter faces no such
        consequence” because it can raise its First Amendment
        defense if Paxton moves to enforce the CID. 2

            Wolfson also doesn’t apply. 616 F.3d at 1058. One
        claim in Wolfson was prudentially ripe because it was
        “primarily legal and d[id] not require substantial further
        factual development.” Id. at 1060. Here, by contrast,
        Twitter’s claim involves determining whether it has
        misrepresented its content moderation policies. That
        question requires more factual development; indeed,
        developing those facts is the very subject of OAG’s
        investigation. In Wolfson, there was no investigation. 3


             2
               As the district court pointed out, Lacey v. Maricopa County,
        693 F.3d 896 (9th Cir. 2012), and Sampson, 974 F.3d at 1019, do not
        apply for the same reason. In Lacey, the prosecuting attorney had
        authorized the plaintiffs’ arrest, 693 F.3d at 922–23, and in Sampson, the
        plaintiff was threatened with a loss of custody of a child, 974 F.3d 1020–
        21. Because Twitter can raise its First Amendment challenge in an action
        by OAG to enforce the CID, it faces no such consequences.
            3
               Ariz. Right to Life, 320 F.3d at 1002, similarly does not apply for
        this reason. In that case, there was no investigation, and the plaintiffs
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            Finally, Brodheim v. Cry, 584 F.3d 1262 (9th Cir. 2009),
        doesn’t apply because it arose in a very different context.
        Brodheim addressed neither standing nor ripeness. And it
        concerned a state prison official’s alleged retaliatory threat
        against a state prisoner. Id. The case does not apply because
        its rule was rooted in the disparity in power and control
        between prison officials and inmates, and such a disparity is
        not present here.

            In Brodheim, in response to an inmate’s administrative
        complaint, a prison official told the inmate, “I’d also like to
        warn you to be careful what you write, req[u]est on this
        form.” Id. at 1266 (alteration in original). A non-self-
        executing CID that can be challenged when enforced (and
        could have been challenged before enforcement) does not
        create the same threat of further sanctions as this prison
        official’s alleged threat.

                                           3

            For his part, Paxton asks us to find this case unripe by
        relying on Reisman, 375 U.S. 440. We decline to do so.
        Reisman doesn’t apply for a simple reason: It’s not about the
        First Amendment and it’s not about ripeness.

            In Reisman, the IRS served a married couple’s
        accountants with a document request. 375 U.S. at 443. The
        couple’s lawyer sued, arguing that the accountants might
        comply and that their compliance would violate the attorney-
        client privilege. Id. at 442. He also argued that the request
        was an unreasonable seizure and that it violated his clients’


        alleged a desire to engage in conduct likely prohibited. That case also
        only addressed standing, and thus did not address prudential ripeness at
        all.
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        rights against self-incrimination. Id. The Supreme Court
        dismissed the case, but not because it was unripe. Rather,
        the Court dismissed the case for “want of equity.” Id. at 443.
        Because the petitioners could challenge the document
        request “on any appropriate ground,” the Court held that they
        had “an adequate remedy at law” and thus dismissed the
        case. Id. at 443, 449.

             This case is different from Reisman because it involves
        the First Amendment, under which a chilling effect on
        speech can itself be the harm. Wolfson, 616 F.3d at 1059
        (citing Virginia v. Am. Booksellers Ass’n, 484 U.S. 383, 393
        (1988)). The key to the holding in Reisman was that there
        had not yet been an injury: The Court held that the remedy
        specified by Congress (to challenge the document request)
        “suffer[ed] no constitutional invalidity.” Reisman, 375 U.S.
        at 450. In other words, the injury in Reisman would only
        occur if the document request were satisfied. The Court
        dismissed the case because there was a way for the
        petitioners to avoid any potential injury while following the
        statutory process. That’s not the case here. Twitter has
        alleged that its injury has already occurred; there is no way
        for it to avoid its alleged injury by challenging the document
        request later. (Of course, whether that injury is sufficient for
        standing and constitutional ripeness is a separate issue, and
        one that we decline to address, as discussed above.) Reisman
        also isn’t about ripeness: Indeed, it doesn’t mention ripeness
        at all. 4



            4
              Zimmer v. Connett, 640 F.2d 208 (9th Cir. 1981), does not apply
        for the same reason. That case also concerned a document request from
        the IRS to a taxpayer, and we dismissed the case “[b]ecause the taxpayer
        had an adequate remedy at law.” Id. at 209.
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                                      D

            Because our analysis is rooted in prudential ripeness and
        not equitable principles, it is not affected by Twitter’s
        declaratory judgment claim. It’s true that “[d]eclaratory
        relief may be appropriate even when injunctive relief is not.”
        Olagues v. Russoniello, 770 F.2d 791, 803 (9th Cir. 1985).
        But unlike the analysis of Reisman, our ripeness analysis
        does not rely on the lack of an adequate remedy at law, so it
        applies equally to Twitter’s claims for equitable and
        declaratory relief.

                                     IV

            The issues here are not fit for judicial decision because
        the facts require further development, and the relative
        hardships to the parties support delaying review. The case
        thus is not prudentially ripe, and the district court’s order
        dismissing the case is AFFIRMED.
